Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 1 of 15

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l. {a) PLAINTIFFS

CNSP. lNC. dba NNlSURF
A|bert Catanach

{b) Coumy of Residence of Firsr Listed Plaintiff
(E,\'C`EPT.'N U..S`. FLA]NTIFF CASESJ`

(C) AltOm€yS (Firm Name. Address. and Telepimrw Numherj

Car| Hans |V|u|ler, 1308 Apache Avenue, Santa Fe. NM 87505,
505-428-7525

DEFENDANTS
City of Santa Fe

Counly ol`Residcnce of First Lisied Det`endan\
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VI. CAUSE OF ACTION

 

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Review of P|anning Commission denial of Plaintiff waiver request
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Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 2 of 15

UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO
CNSP, INC., I)/B/A NMSURF,
Plaintiff,
ALBERT CATANACH, as an individual
Co-Plaintiff,
v. Case No.

CITY ()F SANTA FE, Jury Trial Demanded

Defendant.

COMPLAINT FOR DECLATORY JUDGMENT.. INJUNCTIVE AND OTHER RELIEF
COMES NOW CNSP, lnc., dba Nl\/ISURF (“NMSURF”), by and through their attorney
Carl Hans Muller, and Albert Catanach, as an individual pro-se, and for their Cornplaint against

the City of Santa Fe (“City”) state as follows;

I. COMPLAINT

Plaintiti`s NMSURF and Albert Catanach allege;

l. This action is brought to enjoin the City of Santa Fe from enforcing the decision
of the City Planning Cornrnission regarding Case #2017-41; 1308 Apache Avenue Waiver. The
City Planning Commission wrongfully reviewed and denied Plaintifi‘s facility modifications
request brought by Plaintifi`s basing their decision on elements outside of their jurisdiction and

based on unsubstantiated evidence on the record against the recommendation of the City Land

Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 3 of 15

Use Department. As a direct result of the City Planning Commission’s denial of the setback
waiver, Plaintiffs’ request for a building permit application has been denied by the City Land Use
Departrnent and Plaintiffs’ modifications to its facility and rights under federal law have been
violated
II. PARTIES

2. The City of Santa Fe is a municipality organized and incorporated pursuant to the
laws of the State of New Mexico.

3. CNSP, Inc., dba NMSURF is a New Mexico Corporation and State Regulated
Competitive Local Exchange Carrier.

4. Albert Catanach, an individual_, is a New Mexico resident.

III. JURISDICTION AND VENUE

 

5. The Court has federal question jurisdiction over this action under 28 U.S.C. §
1331, 28 U.S.C § 1367, 47 U.S.C. § 332(c)(?) and 47 U.S.C. § 1455 ((Pub. L. 112_96, title VI,
§ 6409a). The Court has authority to issue declaratory and other relief pursuant to 28 U.S.C. §§
2201-02.

6. Venue is proper in the United States District Court for the District of New Mexico
pursuant to 28 U.S.C. § l391(b) as the City is located in this District, the facility at issue is
located in this District, and all or a substantial part of the events or omissions giving rise to this

cause of action took place in this District.

IV. PROCEDURAL HISTORY

 

7. NMSURF applied to the City of Santa Fe on April 9“‘, 2015 to consolidate two

existing rooftop towers to one tower 30 feet to the south within the property lines of its facility

Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 4 of 15

under Section 6409a of the Telecornrnunications Act (TCA), 47 U.S.C. §1455, 47 C.F.R.
1.400001, and FCC Ordcr 14-153 of the TCA.

8. The City failed to issue a denial or acceptance of the request in writing Within 60
days of the request as mandated by The TCA'. NMSURF and Mr. Catanach notified the City of
his “deemed grant” federal right under the TCA2 on April 28“1, 2016.

9. The City failed to file Suit objecting to the deemed grant as required by the act’s
statute of limitations 30 day time frame. Mr. Catanach proceeded With his modifications in .lune
of 2016".

lO. The City sued Mr. Catanach in the New Mexico First Judicial District Court for a
violation of city ordinance in performing his modifications without a City issued permit, in
conflict With his deemed granted federal right

11. On July 15, 2016, Mr. Catanach requested the case be moved to the US District
Court of New Mexico due to the federal right and law being challenged

12. The US District Court concluded that the City filed suit in violation of a city
ordinance and not federal law and remanded the case back to the state district court.

13. On October 26“‘, 2016 the state district court granted a preliminary injunction
against Mr. Catanach for not obtaining city approval. This prevents Mr. Catanach from
continuing his modifications under the deemed granted right federal laW.

14. The state district court did not issue a ruling on the federal issues and instead

focused on the city ordinance violation.

‘ 47 CFR (c)(Z)
*` 47 CFR (c)(4)
3FCC Order 14-153, 236

Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 5 of 15

15. The state district court subsequently released a scheduling order setting a bench
trial date for April 2017.

16. In November 2016, Mr. Catanach filed the following motions: Motion to Stay the
Injunction; Motion for Expedited Review; Motiori for Sumrnary Judgment; Motion for .lury
Trial. The state district court denied the l\/lotion to Stay the Injunction, Motion for Expedited
Review; and Motion for Sunimary Judgrnent.

17. The court granted the jury trial and currently has a pending jury trial date in
October 2018.

18. On April 7"‘, 2017, Mr. Catanach filed suit in the US District Court for New
Mexico under 42 U.S.C. §1983 and Section 6409a of the Spectrum Act for declaratory and
injunctive relief against Judge Thornson’s order for an ongoing violation of Federal law.

19. On April 12, 2017 the US District Court denied Mr. Catanach’s Motion for TRO
and on June lst, 2017 granted opposing counsel’s Motion to Disrniss.

20. An appeal of that decision is currently in the 10lh Circuit Court of Appeals.

IV. ALLEGATIONS

 

21. Congress adopted Section 6409 as a provision of Title VI of the Middle Class Tax
Relief and Job Creation Act of 2012, and incorporated it into the TCA, codified as 47 U.S.C. §
1455. Section 6409(a)(1) States that ‘“notwithstanding section 704 of the Telecommunications Act
of 1996 codified as 47 USC(c)(7) or any other provision of law, a State or local government may

not deny, and shall approve, any eligible facilities request for a modification of an existing

Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 6 of 15

wireless tower or base station that involves (a) collocation of new transmission equipment; (b)
removal of transmission equipment', or (c) replacement of transmission equipment”.

22. The law did not define what constitutes a substantial change Congress charged
the Federal Communications Commission (FCC) with implementing and defining the law.
Following a contentious notice-and-comrnent period1 the FCC issued Order 14-153. The Order
underlines congressional concern that municipality permit review processes were hindering
efforts to expand wireless.

23. The Order implements the statute's directive that localities "shall approve"
applications by establishing what the Order calls a "deemed granted remedy." Orderi] 227. The
Order establishes a 30 day statute of limitations and authorizes applicants and local governments
to bring claims relating to Section 6409(a) applications in “any court of competent jurisdiction,"
within 30 days of the relevant event, i.e. the date of the denial of the application or the date of the
notification by the applicant to the local government of a “deemed grant". Order 1111 235-36.

24. On June 8, 2017 Plaintiffs, at the request of the City Land Use Department,
appeared before the City Planning Commission for a tower setback waiver.

25. The City Planning Commission had authority to grant the setback waiver under
Subsection l4-6.2(E)(8);

(S)Waivers

(a)The planning commission may grant a waiver of the standards set forth in this section
or otherwise within its jurisdiction only if the planning commission finds that the waiver:

(i)is in the best interest of the community as a whole;

(ii)will expedite the approval of an antenna or tower;

(iii)will not jeopardize the public health, safety and welfare, to the extent the city
has jurisdiction;

(iv)will either mitigate the adverse visual impacts of antenna and tower

proliferation or limit the need for construction of new towers or antennas;
(v)will better serve the purposes set forth in Subsection l4-6.2(E)(1); and

Case 1:17-cv-00827-I\/|CA-KRS Document 1 Filed 08/11/17 Page 7 of 15

(vi)if the proposed site is located in the escarpment or south central highway
corridor overlay districts, that the applicant has demonstrated to the satisfaction of the
planning commission that it has explored all alternatives to the proposed site and to the
proposed design and that location outside those districts is not practicable
26. The City Land Use Department had reviewed Plaintiffs’ responses (i)-(vi) in the
Plaintiffs’ Applicant Submittals and concurred with the responses See Pianning Commission
Staff Report [Exhibit 1].

27. The City Land Use Department improperly added Conditions of Approval that it
did not discuss with the Plaintiffs prior to issuing its Planning Commission Staff Report.

28. The City Land Use Department recommended as a condition of approval that the
tower be concealed using stealth technology

29. The stealth technology proposed by the Land Use Department placed an unfair
burden on the Plaintiffs as the technology would have interfered with Plaintiffs’ technology and
line of sight systems, significantly increased stress and load on the infrastructure of the tower and
added significant additional construction costs to the tower. None of these factors Were taken into
consideration by the Land Use Department in recommending the stealth technology as a
condition of approval

30. The City does not currently have an ordinance or City Code in place allowing for
mandatory stealth technology for the construction of towers within City limits.

31. The city has not required stealth technology at the facility for any previous
towers, base stations, or antennas on the facility.

32. The Land Use Department Pianning Commission Staff Report recommended

approval of the setback waiver.

Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 8 of 15

33. The Staff Report cited “[t]he scope of the Commission hearing is limited to the
setback waiver Details of the construction perrnit, and RF emissions, are beyond the jurisdiction
of the Planning Commission.”

34. ln Plaintiff’s Applicant Submittals, the City had previously reviewed all safety
measures regarding the tower including a November 12, 2016 letter from Joe Towner,
professional engineer, certifying the tower’s full compliance with the requirements of the State of
New Mexico.

35. The City reviewed Mr. Towner’s qualifications and presented no challenge or
objections to his qualifications or certification letter.

36. After their review, the City Land Use Department concurred with
Plaintiffs’response that the setback waiver request will not jeopardize public health, safety and
welfare.

37. Despite the recommendation of the Land Use Department and the limitation of
jurisdiction note, the Planning Commission focused its decision on elements outside of its
jurisdiction including permit history.

38. The Planning Commission further ignored the letter of compliance by Joe Towner
and recommendation by the Land Use Department that the tower was safe and would not
jeopardize public safety.

39. The Planning Commission further made unsubstantiated claims as to the
construction of the tower that were defined and reviewed in the letter by Joe Towner.

40. The Planning Commission’s decision as to the public safety directly contradicts

the review of the City Land Use Department and the review of engineer Joe Towner.

Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 9 of 15

41. As a result, Plaintiffs were denied due process as the Planning Commission
directly exceeded their jurisdiction in their determination of the setback waiver.

42. In denying the request for a setback waiver based on a decision exceeding their
jurisdiction, the Planning Commission has wrongfully denied Plaintiffs’ request in violation of
Section 6409(a) of the TCA.

43. State law and state agency decisions are pre-empted to the extent it actually
conflicts with federal law. The Supreme Court has found pre-emption where it is impossible for a
private party to comply with both state and federal requirements Florida Lime & Avocado

Growers Inc. v. Paul, 373 U.S. 132, 142-143 (1963).

 

44. In the instant case, Plaintiffs invoked their deemed granted right under federal law
as the City failed to accept or deny their application within 60 days of their submittal. The City
further failed to challenge the deemed granted right within 30 day statute of limitations of
receiving the written deemed granted letter.

45. The City in response has presented obstacles to Plaintiffs in continuing their
modifications under their deemed granted right through a preliminary injunction and an
unsubstantiated Planning Commission decision in an effort to delay Plaintiffs’ efforts.

46. The Supreme Court has found pre-emption where state law “stands as an obstacle
to the accomplishment and execution of the full purposes and objectives of Congress.” Hines v.
Davt`dowitz, 312 U.S. 52, 67 (1941). See also Maryland v. Louisiana, 451 U.S. 725_, 747 (1981).

47. ln enacting the TCA, the intent of Congress was to “advance wireless broadband
service for both public safety and commercial users_," FCC 14-153 at 15, with a goal of

“facilitating rapid deployment”. Id.

Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 10 of 15

48. The obstacles placed by the City stand in direct contrast to the intent of Congress
and should be declared preempted and in violation of federal law.

49. The City’s failure to comply with the 1996 Act and refusal to grant NMSURF’s
application has caused and will continue to cause NMSURF irreparable harm.

50. The TCA entitles NMSURF relief ordering the City to issue all permits and

approvals required for NMSURF’s installation and operation of its wireless facilities at the site.

V. FIRST CAUSE OF ACTION
(Violation of Spectrum Act Section 6409(3))
(Codified as part of the TCA)

51. Plaintiff realleges and incorporates by reference the allegations set forth in each
of the preceding paragraphs of this Complaint.

52. The TCA, codified as 47 U.S.C. § 1455, Section 6409(a)(1) states that
"notwithstanding section '/'04 of the Telecommunications Act of 1996 codified as 47 U.S.C.
332(0)(7) or any other provision of law, a State or local government may not deny, and shall
approve, any eligible facilities request for a modification of an existing wireless tower or base
station that involves (a) collocation of new transmission equipment; (b) removal of transmission
equipment; or (c) replacement of transmission equipment".

53. The TCA states “if an application covered by Section 6409(a) has not been
approved by a State or local government within 60 days from the date of filing. . .the reviewing

authority will have violated Section 6409(a)’s mandate to approve and not deny the request, and

the request will be deemed granted.” See FCC Order 14-153 at 216 and 47 CFR 1.40001(0)(4).

Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 11 of 15

54. Plaintiffs submitted their request to the City on April 9"‘, 2015.

55. The City did not issue an approval or denial of the request from the Land Use
Director within the 60 day timeframe.

56. Plaintiffs invoked their deemed granted right via certified mail to the City on
April 28"‘, 2016 due to the ongoing delay of the City.

57. The City failed to respond to Plaintiffs’ April 28“‘, 2016 letter within 30 day
statute of limitations as required by The TCA.

58. The TCA statute of limitations states there is “no reason why such claims cannot
and should not be brought within 30 days of the date of the relevant event” regarding challenges
to a notification of an applicant’s deemed grant notification to the municipality See FCC 14-153
at 236.

59. The City violated thc TCA 60 day timeframe requirement, because it did not issue
a denial or approval within the 60 day timeframe. The City’s July l4th, 2017 denial letter is 764
days beyond the TCA’s 60 day requirement Tbis is therefore a gross violation of the TCA and
Congressional intent to deploy wireless rapidly.

60. The city had 30 days, per the act’s statute of limitations, to challenge the April
28th, 2016 deemed grant letter, but did not which is a further violation of the Act's statute of

limitations

V. SEC()ND CAUSE OF ACTION

(Violation of TCA 47 U.S.C. § 332 - Effective Prohibition of Service)

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Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 12 of 15

6l. "The TCA reflects Congress's intent to expand wireless services and increase
competition among providers." Green Mountain Realtv Corp. v. Leonard, 688 F.3d 40, 48 (lst
Cir.2012) (citation omitted). "Under the TCA` local governments retain control `over decisions
regarding the placement, construction, and modification of personal wireless service facilities.'"
Ia'. (quoting 47 U.S.C. § 332(c)(7)(A)). Tbis control, however, is "subject to several substantive
and procedural limitations that subject local governments to an outer limit upon their ability to
regulate personal wireless services land use issues." Id. at 49 (citation omitted). One of the limits
on local authority is the requirement that local decisions not "prohibit or have the effect of
prohibiting the provision of personal wireless services." 47 U.S.C. § 332(c)(7)(B)(i)(lI).

62. The decision of the City and Commission has the effect of prohibiting the
provision of broadband personal wireless services at it prohibits NMSURF from continuing their

modifications to their facility.

VI. THIRD CAUSE OF ACTION
( Violation of TCA 47 U.S.C. § 332 - Substantial Evidence)

63. 47 U.S.C. § 332(c)(7)(B)(iii) states;

“Any decision by a State or local government or instrumentality thereof to deny a request
to place, construct, or modify personal wireless service facilities shall be in writing and
supported by substantial evidence contained in a written record”_

64. The decision of the City and Commission was not supported by substantial
evidence contained in a written record. Specifically, the decision was based upon the permit

history of the facility which is outside the jurisdiction of the Commission. The Commission

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Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 13 of 15

further failed to take into account written information on the record regarding the safety
Compliance of the tower.

65_ Specifically “the waiver was denied. . because the tower was built without a city
building permit” and “the retroactive inspection was a document review from an electrical
engineer” and “the retroactive inspection was not conducted via a site visit by a structural
engineer”. See Findings of Fact page 5, Conclusions of Law No. 9 [Exhibit 2].

66. The history of the building permit was not within the jurisdiction of the Planning
Commission.

67. The retroactive inspection was conducted both via a site visit and document
review by a qualified professional engineer with an extensive background in tower structural
review.

68. The Land Use Department has previously reviewed the qualifications of the
engineer for the retroactive inspection, and made no objection to his background Rather they
indicated their recommendation of approval to the Planning Commission.

69. As a result, the basis of the Planning Commission’s decision was based on
unsubstantiated evidence and was not supported by substantial evidence contained in the written
record.

VII. FOURTH CAUSE OF ACTION
(Violation of NMSA 1978 39-3-1.1 -Administrative Review)

70. NMSA 1978 39-3-1.1(D) states as follows;

D.ln a proceeding for judicial review of a final decision by an agency, the district court may set
aside, reverse or remand the final decision if it determines that:

(l) the agency acted fraudulently_, arbitrarily or capriciously;
(2) the final decision was not supported by substantial evidence; or

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Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 14 of 15

(3) the agency did not act in accordance with law.
71. The decision of the City and Commission cannot survive administrative review

under this law as the Commission acted arbitrarily without support of substantial evidence by

basing their decision on merits outside their jurisdiction.

Vl. PRAYER FOR RELIEF
72. Wherefore, Plaintiffs respectfully pray that the Court:

a. Permit expedited review pursuant to 47 U.S.C. § 332(c)(7)(B)(v) of the
matters set forth in this Complaint;

b. Enter an order finding that the City’s decision violates and is preempted by
47 U.S.C. § 332(0)(7) and 47 U.S.C. § 1455;

c. Enter an order under § 39-3-1.1, NMSA 1978, finding that the City’s
decision is arbitrary and capricious, not supported by substantial evidence, and not in accordance
with the law;

d. Enter an order requiring the City to issue Plaintiffs approvals authorizing

Plaintiffs to modify, operate and maintain its proposed facilities at the Site; and.

e. Award such additional relief as the interests of justice may require_

VII. JURY DEMAND
73. Plaintiffs hereby demand a trial by jury of all issues so triable pursuant to Rule 38

of the F ederal Rules of Civil Procedure.

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Case 1:17-cv-00827-I\/|CA-KRS Dooument 1 Filed 08/11/17 Page 15 of 15

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CERTIFICATE OF SERVICE

l hereby certify that the above pleading was electronically filed through the Court’s CM/ECF
system, which caused the foregoing parties or counsel of record to be served electronically
and/or mailed/emailed/faxed a true and correct copy of the above pleading to the following
counsel/parties this llth day of August 2017:

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14

